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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF LOUISIANA

In Re:        Oil Spill by the Oil Rig         ]                      MDL No. 2179
              “Deepwater Horizon” in the       ]
              Gulf of Mexico, on April 20, 2010]                      SECTION: J
                                               ]
                                               ]                      Judge Barbier
This Document Relates to: 2:12-cv-1045-CJB-JCW ]                      Mag. Judge Wilkinson
                                               ]

                        SWORN DECLARATION OF JOHN SAWICKI

         Pursuant to 28 U. S. C. § 1746 John Sawicki declares the following:

         1.      “My name is John Sawicki. The facts contained in this declaration are within my

personal knowledge and are true and correct.

         2.      I worked for O’Brien’s Response Management, Inc. (O’Brien’s) from May 14,

2010 to April 12, 2011. O’Brien’s assigned me to work in Venice, Louisiana at the incident

command post, staging yard and the demobilization yard. I was hired by O’Brien’s to assist the

branch operations section chief and deputy branch director of operations in staging personnel,

equipment and supplies used in the cleanup response to BP’s Deepwater Horizon oil spill in

April 2010.

         3.      I met daily with senior command staff including, BP personnel, Coast Guard

officials, State and local officials and O’Brien’s staff to track and report on personnel, supplies

and equipment needed to clean the spill. It was my job to supervise the inventory of items, the

deployment of personnel and equipment, demobilization and decontamination of supplies and

equipment, and tracking of when supplies and equipment were returned to staging for

redeployment or demobilization.

         4.      It was also my job to supervise returning equipment and supplies that had been

deployed, inventoried and returned to the staging yard or demobilized and returned to the owner.




                                                                                             Ex. 11
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       5.      My last position with O’Brien’s was Staging Manager. I was responsible for

having personnel, supplies and equipment ready daily to support the cleanup effort. I also

attended daily meetings with senior command staff to explain what we picked up or deployed

each day and the equipment and personnel being utilized.

       6.      O’Brien’s treated me as an independent contractor from the beginning of my

employment until January 1, 2011, when O’Brien’s reclassified me as an employee.

       7.      Many other workers worked for O’Brien’s and were also treated as independent

contractors. I refer to these other workers as “Responders.”

       8.      Throughout my employment with O’Brien’s, O’Brien’s established my and the

other Responders’ compensation. When I arrived in Venice, Louisiana I initially reported to

Mark Macintyre, an O’Brien’s employee, but later reported directly to the deputy branch director

of operations and branch operations section chief.

                                             Hours Worked

       9.      During my employment, the other Responders and I typically worked seven days

per week. I went months without a day off.

       10.     The other O’Brien’s Responders and I were regularly scheduled to work twelve

hour shifts. However, our actual shifts were often longer than the regularly scheduled twelve

hours. My schedule was dictated by the operations section chief.

       11.     Accordingly, the other Responders and I routinely worked many hours in excess

of forty in a week. Exhibit 1 is an example of one of my time sheets from October 16, 2010 to

October 31, 2010. I worked over twelve hours each of these days. See Exhibit 1.

                                              Pay
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       12.     When O’Brien’s hired me and the other Responders, we signed “Teaming

Agreements” that stated we would be paid by the day. My agreement with O’Brien’s states I

would be paid “$600 per day.” A true and correct copy of the agreement I signed with O’Brien’s

is attached as Exhibit 2.

       13.     Throughout my employment with O’Brien’s, I was paid $600.00 per day. This

amount did not increase if I worked more than my scheduled hours.

       14.     O’Brien’s did not pay me or the other Responders overtime compensation for

hours we worked in excess of forty hours during the time O’Brien’s classified us as independent

contractors.

                                            Control

       15.     O’Brien’s had the authority to hire and fire me and other O’Brien’s Responders. I

know this because John McHugh, an O’Brien’s employee, hired me over the phone. Just before

reporting to work in Venice, McHugh sent me O’Brien’s hiring documents and employment

policies in the form of a Teaming Agreement.

       16.     When I was hired, I initially reported to Mark Macintyre in Venice, who was also

employed by O’Brien’s as a logistics manager. I then reported to the operations section chief.

       17.     My work for O’Brien’s was directed by the branch operations section chief and

deputy branch director of operations. I had mandatory daily meetings with them, senior Coast

Guard, local, state and federal officials and O’Brien’s staff. The incident command system and

senior command staff gave me and other Responders direction regarding our daily tasks and job

performance.
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        18.     Command staff including the branch operations section chief required me to

attend a daily command meeting at 8:00 a.m. Senior command staff used these meetings to

monitor our work and plan our assignments for the next day.

        19.     The deputy branch director of operations and branch operations section chief

directed the information I was to track, how I was to report it and also provided instruction on

how to fill out the report forms I completed. When my forms were not filled out properly, or

there was some other problem with my work, they required me to make corrections according to

their instructions.

        20.     The other Responders and I were required to scan our electronic badges in and out

upon each entry and departure from work sites and boats. These badges said “O’Brien’s” on

them. We were required to wear them around our necks so they would always be visible to the

guards at the facilities.

        21.     The other Responders and I were required to obtain approval for time off. I

requested a total of five days off during my employment with O’Brien’s. The approval was

sought through command staff and then an electronic mail message was sent to O’Brien’s

notifying them of the schedule.

        22.     O’Brien’s required me and other Responders to fill out time sheets reflecting

hours worked and submit them to O’Brien’s for processing.

        23.     Other Responders and I were required by command staff to follow policies and

procedures that dictated who we reported to in the chain of command, what we were permitted to

wear, how we performed our work, how we handled documents, and that we submit to random

drug and alcohol testing.
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        24.    Command staff, including the deputy branch director of operations and branch

operations section chief set my schedule and other Responders’ working schedules which

typically required minimum shifts of 12 hours or longer. We were not allowed to set our own

schedules.

        25.    The Responders and I were not allowed to hire employees to help us with our

work.

        26.    O’Brien’s prohibited me and the other Responders from working with any other

oil spill contractor while we were employed by O’Brien’s and for one year after our

employment. See Exhibit 2.

        27.    Around January 1, 2011, a woman from O’Brien’s human resources department

named Christine Royer met with us. She explained O’Brien’s was going to make us employees.

From that point on, O’Brien’s classified me as an employee.

        28.    Just before I was let go, I was told to report to demobilization. In demobilization,

my O’Brien’s electronic access badge was deactivated. After being demobilized, I returned

home because I no longer had work or lodging in Venice.

                                            Investment

        29.    The other Responders and I made little or no investment in working for

O’Brien’s. I was told only to bring a hard hat and steel toe boots and that everything else needed

would be supplied to us through BP.

                                    Special Skill or Expertise

        30.    O’Brien’s did not require me and the Responders to possess specialized

qualifications, skill or former training prior to hire in order to perform our job duties. I never had

contact with O’Brien’s before I was hired and I received no formal training after being hired. I
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found out about employment with O'Brien's when I was contacted by Eric Polite of O'Brien's

who discussed the position with me over the telephone. After a short phone interview, I was

offered ajob with O'Brien's.   Another O'Brien's employee named John McHugh sent me the

Teaming Agreement via electronic mail and less than a week later, I was in Venice.

       31.     The other Responders and I did not receive significant official or formal training

to perform our jobs. Instead, we learned how to perform our duties on the job. For example, I

learned on the job how to fill out report forms and what information I was required to track about

the cleanup equipment and personnel.

                                 Interest in a Collective Action

       32.     Based on my experience working with O'Brien's and my communications with

other Responders, I know other Responders were similarly classified as independent contractors

prior to January 1, 2011 when Responders were made employees.

       33.     I declare under penalty ofperjury that the foregoing is true and correct."


Signed on July 10,2012.
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                                                                            BP
                                                                        RESPONSE
                                                                        TIME SHEET
Name: John G. Sawicki         Billing Period: 10/16-10/31/10             Time Sheet 1013

Paykey Code: ZKRAUMD252                          Response: BP MISS. Canyon Block 252

   Date       Start      End        Total                       Location/Activity
              Time       Time       Hours

 10/16/10    0500        1830       13.5                 Site Logistics/Staging Manager
 10/17/10    0500        1830       13.5                 Site Logistics/Staging Manager
 10/18/10    0500        1730       12.5                 Site Logistics/Staging Manager
 1019/10     0500        1800       13.0                  Site Logistics/Staging Manage
 10/20/10    0500        1900       14.0                 Site Logistics/Staging Manager
 10/21/10    0500        1830       13.5                 Site Logistics/Staging Manager
 10/22/10    0500        1830       13.5                 Site Logistics/Staging Manager
 10/23/10    0500        1800       13.0                 Site Logistics/Staging Manager
 10/24/10    0500        1830       13.5                 Site Logistics/Staging Manager
 10/25/10    0500        1730       12.5                 Site Logistics/Staging Manager
 10/26/10    0500        1830       13.5                  Site Logistics/Staging Manager
 10/27/10    0500        1830       13.5                 Site Logistics/Staging Manager
 10/28/10    0500        1730       12.5                 Site Logistics/Staging Manager
 10/29/10    0500        1800       13.0                 Site Logistics/Staging Manager
 10/30/10    0500        1800       13.0                 Site Logistics/Staging Manager
 10/31/10    0500        1800       13.0                 Site Logistics/Staging Manager




 Days 16     Total                   211
              Hr

 Signature: John G. Sawicki                                            Date: 11/01/10




                                                                                           EXHIBIT 1
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                                                               EXHIBIT 2
